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IN THE UNITED STATES DISTRICT COURT `“"" *
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUM f 5 PH 3 h!

 

WESTERN DIVISION
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511 W U. j.?i' 33~‘, ?.TEMPHE 3
UNITED STATES OF AMERICA 1"
V.
]OHN SIMMONS NO. 05€1'20211-]3

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

The counsel for the defendant has this day notified the Court that the defendant,
upon order of the court, had previously been transferred to a suitable hospital or facility
selected by the Court of pretrial examination pursuant to 18 U.S.C. § 4241 to determine
defendant’s mental competency to stand trial. The court finds that the arraignment should
be continued until a report on defendant's mental competency is received and that the ends
of justice served by such a continuance outweigh the best interest of the public and the
defendant in a speedy trial.

It is therefore ORDERED that pursuant t018 U.S.C. §3161(h)('l)(A) the time period

of Q@'¢ /~5'¢ QJ=§ through @Z//S;¢/ZWS be excluded from the

time its imposed by the Speedy Trial Act for trial of this case, While the defendant is under

 

observation for mental competency

ARRAIGNMENT RESET 'ro wEDNEsDAy, sEP'rEMBER 14, 2005 Ar 10=00
A.M. BEFoRE MAGISTRATE JUDGE DIANE 1<. vsscovo.
This 1§' day cf §§th ,2005.

  
 

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ED STA'I'ES MAGISTRATE ]UDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
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Honorable Bernice Donald
US DISTRICT COURT

